          Case 1:19-cv-02473-PKC Document 129 Filed 10/16/20 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
Elvayaris Rosa,                                                        :
                                                                       :
                                    Plaintiff(s),                      :     19-cv-2473 (PKC)
                                                                       :
                  -v-                                                  :   ORDER OF DISMISSAL
                                                                       :
United States of America, et al.,                                      :
                                                                       :
                                    Defendant(s).                      :
                                                                       :
---------------------------------------------------------------------- X


CASTEL, U.S.D.J.:

        The Court having been advised that all claims asserted herein have been settled in
principle, it is ORDERED that the above-entitled action be and is hereby dismissed and
discontinued without costs, and without prejudice to the right to reopen the action within thirty
days of the date of this Order if the settlement is not consummated.

        To be clear, any application to reopen must be filed within thirty days of this Order; any
application to reopen filed thereafter may be denied solely on that basis. Further, if the parties
wish for the Court to retain jurisdiction for the purposes of enforcing any settlement agreement,
they must submit the settlement agreement to the Court within the same thirty-day period to be
“so ordered” by the Court. Unless the Court orders otherwise, the Court will not retain
jurisdiction to enforce a settlement agreement unless it is made part of the public record.

        Any pending motions are moot. All conferences are vacated. The Clerk of Court is
directed to close the case.

        SO ORDERED.




Dated: October 16, 2020
       New York, New York
